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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION

JOE ANDREW SALAZAR,                              §
                                                 §
            Plaintiff,                           §
                                                 §
     vs.                                         §      Civil Action No. 2:16-CV-01096-JRG-RSP
                                                 §
HTC CORPORATION,                                 §      JURY TRIAL DEMANDED
                                                 §
            Defendant.                           §


                         PROPOSED JOINT FINAL PRETRIAL ORDER

           The Pretrial Conference is scheduled for April 16, 2018 at 9:00 a.m. in Marshall, Texas.

Pursuant to the Court’s e-Notice dated March 9, 2018, Local Rule CV-16(b), and Rule 16 of the

Federal Rules of Civil Procedure, Plaintiff Joe Andrew Salazar (“Salazar”) and Defendant HTC

Corporation (“HTC Corp.”) submit this Joint Pretrial Order. Subject to the other rulings made at

the Pretrial Conference, the Court enters this Order.

A.         COUNSEL FOR THE PARTIES

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B.     STATEMENT OF JURISDICTION

       This Court has subject matter jurisdiction of the action under Title 28, U.S.C. §§ 1331,

1338(a), because this action arises under the Patent Laws of the United States, 35 U.S.C. § 1 et

seq. Subject matter jurisdiction, personal jurisdiction, and venue under 28 U.S.C. §§ 1391(b) and

1400(b) are not disputed in this case.

C.     NATURE OF ACTION

       Salazar alleges that HTC Corp. has directly infringed, either literally and/or under the

doctrine of equivalents, U.S. Patent No. 5,802,467 (“the ‘467 Patent”). Salazar is asserting claims

1-7, 27-30, and 34 of the ’467 Patent (the “Asserted Claims”). The accused products in this case

are the HTC One M7, the HTC One M8, and the HTC One M9 (the “HTC Accused Products”).

Salazar has withdrawn his infringement allegations with respect to the HTC One M8 for Windows

product.

       Salazar seeks damages that are adequate to compensate him for HTC Corp.’s infringement,

but in no event less than a reasonable royalty. Salazar also seeks prejudgment and post-judgment

interests and costs pursuant to 35 U.S.C. § 284, and attorney fees pursuant to 35 U.S.C. § 285.

       HTC Corp. denies that it infringes any Asserted Claim, literally or under the doctrine of

equivalents. HTC Corp. further contends that all of the Asserted Claims of the ’467 Patent are

invalid because they are either anticipated by or rendered obvious by one or more prior art

references or because they are indefinite. HTC Corp. also denies that this case qualifies as an

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exceptional case, under any circumstances, that would warrant enhanced damages or an award of

attorneys’ fees to Salazar. HTC Corp. seeks an award of its attorneys’ fees under 35 U.S.C. § 285.

D.     CONTENTIONS OF THE PARTIES

       1.      Salazar’s Statement of Contentions

       By providing these contentions, Salazar does not concede that all of these issues are

appropriate for trial. In addition, Salazar does not waive any of its motions in limine.

       1.      Salazar contends that HTC Corp. has infringed claims 1-7, 27-30 and 34 of the

‘467 Patent under 35 U.S.C. § 271, literally and/or under the doctrine of equivalents, by making,

using, offering for sale, and/or selling, or importing into the United States certain smartphone

products include the HTC One M7, HTC One M8 and HTC One M9 (the “HTC Accused

Products”) that embody wireless communications, control and sensing systems for communicating

with external devices, including televisions and other devices without authority or license from

Salazar.1

       2.      Salazar contends that the inventions of the ‘467 Patent were conceived on or about

June 1993, and thereafter diligently reduced to practice.

       3.      Salazar contends that the inventions embodied by the asserted claims of the ‘467

Patent are entitled to the effective filing date of September 28, 1995.

       4.      Salazar is the owner of all rights, title and interest in and to the ‘467 Patent and

possesses all rights of recovery under the ‘467 Patent.

       5.      Salazar contends that he has been damaged by HTC Corp.’s conduct and seeks

damages adequate to compensate for the infringement by HTC Corp., but in no event less than a


1
  Defendant’s objection: HTC Corp. objects to Salazar’s assertion that HTC Corp. makes or uses
the accused products in the United States. It is undisputed that HTC Corp. manufactures the
accused products in Taiwan and there is no evidence that HTC Corp. uses the accused products in
the United States. See Dkt. 149.
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reasonable royalty, together with prejudgment and post-judgment interest and costs as fixed by the

Court.

         6.     Salazar contends that this case is exceptional and Salazar is entitled to his costs,

expenses and reasonable attorney fees pursuant to 35 U.S.C. 285.

         7.     Salazar contends that HTC Corp.’s defenses and declaratory judgment claims that

allege the ‘467 Patent is invalid and not infringed by HTC Corp. are without merit.

         8.     Salazar contends that HTC Corp. is not entitled to recover its attorney’s fees and

costs in this action.

         9.     Salazar contends that jurisdiction is proper in this Court.

         10.    Salazar contends that venue is proper in the United States District Court for the

Eastern District of Texas.

         2.     HTC’s Statement of Contentions

         1.     HTC Corp. denies that it directly infringes, either literally or under the doctrine of

equivalents, any Asserted Claim of the ’467 Patent, and contends that Salazar cannot meet his

burden of establishing by a preponderance of the evidence that any valid claim of the ’467 Patent

is infringed. In fact, HTC Corp. contends that Salazar is not able to allege infringement under the

doctrine of equivalents because he has not provided evidence that the required claim elements are

met through equivalents.

         2.     HTC Corp. also contends that it has not made, used, offered for sale, or sold the

HTC Accused Products in the United States. HTC Corp. further contends that it has not imported

the HTC Accused Products into the United States.

         3.     HTC Corp. contends that all of the Asserted Claims of the ’467 Patent are invalid

because they are either anticipated by or rendered obvious by one or more prior art references.



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        4.      HTC Corp. further contends that all of the Asserted Claims of the ’467 Patent are

invalid because they are indefinite under Salazar’s infringement theories.2

        5.      HTC Corp. contends that, even if at least one of the Asserted Claims is found to be

valid and infringed, Salazar is not entitled to the relief he is requesting.

        6.      HTC Corp. also contends that Salazar’s claim for damages is limited based on

Salazar’s failure to comply with 35 U.S.C. § 287 and his failure to provide actual notice before he

filed this case.3

        7.      HTC Corp. denies that this is an exceptional case for Salazar or that Salazar is

entitled to his costs, expenses, and attorney fees under 35 U.S.C. § 285. HTC Corp. contends,

however, that this is an exceptional case in HTC Corp.’s favor and that HTC Corp. is entitled to

its costs, expenses, and attorney fees under § 285.

        8.      HTC Corp. contends that Salazar is barred from recovering any costs associated

with this case under 35 U.S.C. § 288.

        9.      HTC Corp. contends that Salazar’s claims of infringement under the doctrine of

equivalents are barred by the doctrine of prosecution history estoppel.

E.      STIPULATIONS AND UNCONTESTED FACTS

        The parties agree to the following stipulations and uncontacted facts:



2
 Plaintiff’s objection: During the claim construction phase of this case, the Court ruled against
HTC Corp. on its indefiniteness defenses which is a question of law for the Court to determine and
Salazar objects to this contention to the extent that HTC Corp. is intending to submit indefiniteness
as an issue for the jury to decide at the trial of this case or for the Court to re-determine.
3
  Plaintiff’s objection: HTC Corp. has not met its required burden of production to raise an issue
with regard to a failure to mark defense based on Salazar’s alleged failure to comply with 35 U.S.C.
§ 287 and Salazar objects to this contention to the extent that HTC Corp. is intending to pursue
this defense at the trial of this case.


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        1.      The Parties’ Statement of Stipulations

         1.     The Parties have agreed that all claims, counterclaims, and requests for relief

asserted against HTC Corp. based on infringement of claims 10, 14, 17, 23, 26, 31 and 32 of the

‘467 Patent have been dismissed.

        2.      The Parties’ Statement of Uncontested Facts

        1.      The ’467 Patent has an effective filing date of September 28, 1995 and was issued

on September 1, 1998. The ’467 Patent expired on September 28, 2015.

        2.      The ’467 Patent is entitled “Wireless and Wired Communications, Command,

Control and Sensing System for Sound and/or Data Transmission and Reception.”

        3.      Claims 1-7, 27-30 and 34 of the ’467 Patent are at issue and asserted in this case

against HTC Corp.

        3.      Stipulation for Trial Management Procedures

        The parties will meet and confer to reach an agreement on trial management procedures

and will submit a separate filing with their agreement.

        4.      Stipulation on Treatment of Confidential, Restricted – Attorneys’ Eyes Only,
                and Restricted Confidential Source Code Information

        The parties agree to abide by the procedures set forth in this case’s Protective Order (Dkt.

33) to prevent public disclosure of documents containing information designated as Confidential,

Restricted – Attorneys’ Eyes Only, Restricted Confidential Source Code, and/or testimony

eliciting such information.

F.      CONTESTED ISSUES OF FACT AND LAW

        The parties identify the following issues of fact that remain to be litigated. To the extent

any issue of law discussed below is deemed to be an issue of fact, it is incorporated into this section.

The parties reserve the right to identify additional factual or legal issues that may arise, including


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issues raised by any further discovery undertaken in this case or the Court’s rulings on any pending

motions or rulings made at the pretrial conference on this action.

       By providing this statement, the parties do not concede that all of these issues are

appropriate for trial. The parties also do not waive any of its pending motions.

       •       Infringement

       1.      Whether Salazar has shown by a preponderance of the evidence that the HTC One

M7, HTC One M8, and HTC One M9 directly infringe, either literally or under the doctrine of

equivalents, any of the Asserted Claims of the ’467 Patent.

       •       Invalidity

       2.      Whether HTC Corp. has shown by clear and convincing evidence that any prior art

reference or references invalidate the Asserted Claims of the ’467 Patent under 35 U.S.C. §§ 102

and/or 103.

       3.      Whether HTC Corp. has shown by clear and convincing evidence that any Asserted

Claims of the ’467 Patent are invalid for lack of definiteness.4

       •       Patent Damages and Remedies

       4.      If HTC Corp. is found to infringe any valid Asserted Claim, the amount adequate

to compensate Salazar for that infringement.

       5.      The period of damages under the ’467 Patent, and whether any period of time

should be excluded based on alleged failure to comply with 35 U.S.C. § 287.5


4
 Plaintiff’s objection: During the claim construction phase of this case, the Court ruled against
HTC Corp. on its indefiniteness defenses which is a question of law for the Court to determine and
Salazar objects to this contention to the extent that HTC Corp. is intending to submit indefiniteness
as an issue for the jury to decide at the trial of this case or for the Court to re-determine.
5
 Plaintiff’s objection: HTC Corp. has not met its required burden of production to raise an issue
with regard to a failure to mark defense based on Salazar’s alleged failure to comply with 35 U.S.C.

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        6.     Whether any award to Salazar is limited under 35 U.S.C. § 288.

        7.     The amount and manner of calculation of any pre-judgment and post-judgment

interest.

        8.     Whether Salazar or HTC Corp. has shown that this is an exceptional case entitling

the party to an award of reasonable attorneys’ fees and costs under 35 U.S.C. § 285, and if so the

amounts thereof.

        •       Salazar’s Statement Regarding Issues to be Decided by the Court

        1.     Salazar reserves the right to object to the language and substance of any proposed

instructions and questions on the issues of obviousness or anticipation or any other invalidity

theory proposed by HTC.

        2.     Salazar contends that all issues related to his claims for post-trial issues such as

exceptional case, enhanced damages, attorney’s fees and post and pre-trial interest as well as

HTC’s equitable defenses require determination by the Court, should not be submitted to the jury,

and the jury should not be advised of Salazar’s claims for post-trial issues or HTC’s equitable

defenses.

        •       HTC’s Statement Regarding Issues to be Decided by the Court

        1.     HTC Corp. contends that the parties’ fundamental dispute as to the meaning of the

term “configured to” in the “a memory device coupled to said microprocessor configured to store

a plurality of parameter sets retrieved by said microprocessor so as to recreate a desired command

code set” element of the Asserted Claims requires determination by the Court and should not be




§ 287 and Salazar objects to this contention to the extent that HTC Corp. is intending to pursue
this defense at the trial of this case.


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 submitted to the jury. This issue has been fully briefed by the parties in Dkt. 149, 158, 164, 174,

 176, 177, 184, 191, 193, 203, 207, and 208.6

           2.     HTC Corp. contends that the parties’ fundamental dispute as to the meaning of the

 term “said” in the “an infra-red frequency transceiver coupled to said microprocessor for

 transmitting to said external devices and receiving from said external devices, infra-red frequency

 signals in accordance with said communications protocols” element of the Asserted Claims

 requires determination by the Court and should not be submitted to the jury. This issue has been

 fully briefed by the parties in Dkt. 149, 158, 176, 177, 191, 193, 207, and 208.7

           3.     HTC Corp. contends that the “an infra-red frequency transceiver coupled to said

 microprocessor for transmitting to said external devices and receiving from said external devices,

 infra-red frequency signals in accordance with said communications protocols” element of the

 Asserted Claims is rendered indefinite by Salazar’s interpretation of the term “said” therein. This

 dispute is not untimely because it arose as a result of Salazar’s infringement expert’s opinions and

 testimony that the term “said” refers to a subset of “said external devices and “said

 communications protocols” depending on the claim context, which is described in Dkt. 149, 158,

 176, 177, 191, 193, 207, and 208.8

           4.     HTC Corp. contends that the parties’ fundamental dispute as to the meaning of the

 term “includes” in the “a microprocessor for generating a plurality of control signals used to


 6
   Plaintiff’s objection: Salazar objects to the matter set forth in this paragraph as being an issue
 that needs to be decided by the Court as this is a claim construction issue that either has already
 been determined by the Court or, alternatively, is a claim construction issue that should have been
 – but was not – raised during the claim construction phase of this case and HTC’s untimely attempt
 to raise this claim construction issue at this late stage of the case is impermissible.
 7
     Plaintiff’s objection: Same objection as in footnote 6.
 8
     Plaintiff’s objection: Same objection as in footnote 6.

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 operate said system, said microprocessor creating a plurality of reprogrammable communication

 protocols, for transmission to said external devices wherein each communication protocol includes

 a command code set that defines the signals that are employed to communicate with each one of

 said external devices” element of the Asserted Claims requires determination by the Court and

 should not be submitted to the jury. This issue has been fully briefed by the parties in Dkt. 158,

 176, 191, and 207.9

           5.     HTC Corp. contends that the parties’ fundamental dispute as to the meaning of the

 term “creating” in the “a microprocessor for generating a plurality of control signals used to

 operate said system, said microprocessor creating a plurality of reprogrammable communication

 protocols” element and the term “generating” in the “said microprocessor generating a

 communication protocol in response to said user selections” element of the Asserted Claims

 requires determination by the Court and should not be submitted to the jury. This issue has been

 fully briefed by the parties in Dkt. 149, 177, 193, and 208.10

           6.     HTC Corp. contends that Salazar is precluded from arguing infringement under the

 doctrine of equivalents (if Salazar is allowed to present and presents a doctrine of equivalents

 infringement case at trial for some or all of the limitations of the Asserted Claims) by the doctrine

 of prosecution history estoppel, which contentions require determination by the Court and should

 not be submitted to the jury.

           7.     HTC Corp. contends that this is an exceptional case under § 285 and that it is

 entitled to its costs, expenses, and attorneys’ fees, which contention requires determination by the

 Court and should not be submitted to the jury.



 9
     Plaintiff’s objection: Same objection as in footnote 6.
 10
      Plaintiff’s objection: Same objection as in footnote 6
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 G.     LIST OF WITNESSES

        Salazar’s Updated List of Witnesses is attached as Exhibit A.

        HTC Corp.’s Updated List of Witnesses is attached as Exhibit B. HTC Corp.’s Objections

 to Salazar’s Updated List of Witnesses is attached as Exhibit C.

        The parties will continue to meet and confer regarding their respective objections in order

 to strive to resolve all objections and issues prior to presenting them to the Court.

 H.     LIST OF EXHIBITS

        Salazar’s Updated List of Exhibits is attached as Exhibit D.

        HTC Corp.’s Updated List of Exhibits is attached as Exhibit E.

        The parties will continue to meet and confer regarding their respective objections in order

 to strive to resolve all objections and issues prior to presenting them to the Court.

 I. DEPOSITION DESIGNATIONS

        Salazar’s Deposition Designations and HTC’s Counter Deposition Designations are

 attached as Exhibit F.

        HTC Corp.’s Deposition Designations and Salazar’s Counter Deposition Designations are

 attached as Exhibit G.

        The parties will continue to meet and confer regarding their respective objections in order

 to strive to resolve all objections and issues prior to presenting them to the Court.

 J.     PROPOSED JURY INSTRUCTIONS AND VERDICT FORMS

        Attached as Exhibit H is a copy of the parties’ proposed preliminary jury instructions.

 Attached as Exhibit I is a copy of the parties’ proposed final jury instructions. These exhibits

 identify where the parties’ proposals differ and are subject to the parties’ objections noted within.

        Attached as Exhibit J is a copy of Salazar’s proposed verdict form. Attached as Exhibit K

 is a copy of HTC Corp.’s proposed verdict form.
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        The parties will continue to meet and confer regarding their respective objections in order

 to strive to resolve all objections and issues prior to presenting them to the Court.

 K.     LIST OF ANY PENDING MOTIONS

        •   Salazar’s pending motions

        Dkt. No. 118 – SEALED Plaintiff Joe Andrew Salazar’s Motion to Compel Defendant
                       HTC Corporation to Comply with the Court’s Discovery Order, Answer
                       Interrogatories and Produce 30(b)(6) Witnesses and to Overrule
                       Objections

        Dkt. No. 199 – Plaintiff’s Opposed Motions in Limine

        Dkt. No. 215 – SEALED Plaintiff’s Second Motion to Compel and for Sanctions

        •   HTC’s pending motions

        Dkt. No. 149 – HTC Corporation’s Motion for Summary Judgment of Non-Infringement
                       of the Asserted Claims of the ’467 Patent

        Dkt. No. 157 – HTC Corporation’s Daubert Motion to Exclude Portions of the Expert
                       Report and Testimony of Plaintiff’s Validity Expert Oded Gottesman

        Dkt. No. 158 - HTC Corporation’s Daubert Motion to Exclude Portions of the Expert
                       Report and Testimony of Plaintiff’s Infringement Expert Roy A. Griffin
                       III

        Dkt. No. 159 - HTC Corporation’s Daubert Motion to Exclude the Opinions and
                       Testimony of Plaintiff’s Damages Expert, Justin Blok

        Dkt. No. 194 - HTC Corporation’s Motion to Strike the Declaration of Roy A. Griffin III

        Dkt. No. 197 - HTC Corporation’s Opposed Motions in Limine

        To be filed -     HTC Corporation’s Opposition to Salazar’s Motion to Compel and For
                          Sanctions (Dkt. 215) and HTC Corporation’s Cross-Motion
                          For Sanctions and to Terminate Deposition.




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 L.     PROBABLE LENGTH OF TRIAL

        The probable length of trial is 5 days, excluding jury selection. The parties request that

 each side be allotted 13 hours for trial, exclusive of voir dire, opening statements and closing

 arguments.

 M.     CERTIFICATIONS

        The undersigned counsel for each of the parties in this action do hereby certify and

 acknowledge the following:

        (1)    Full and complete disclosure has been made in accordance with the Federal Rules

 of Civil Procedure and the Court’s orders;

        (2)    Discovery limitations set forth in the Federal Rules of Civil Procedure, the Local

 Rules, and the Court’s orders have been complied with;

        (3)    Each exhibit in the List of Exhibits herein:

               (a)     is in existence;

               (b)     is numbered; and

               (c)     has been disclosed and shown to opposing counsel.


        Dated: April 6, 2018
                                              Respectfully submitted,




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                                            Attorneys for Defendant HTC Corporation


                                CERTIFICATE OF SERVICE

        This is to certify that all known counsel of record who are deemed to have consented to

 electronic service are being served with a copy of this document via the Court’s CM/ECF system

 per E. Dist. Tex. Loc. Ct. R. CV-5(a)(3) on this the 6th day of April, 2018. Any other known

 counsel of record will be served with a copy of this document by email and/or facsimile

 transmission.




                                            Andy Tindel




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